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                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE

In re:                                         )        Chapter 11
                                               )
YELLOW CORPORATION, et al.,                    )        Case No. 23-11069 (CTG)
                                               )        (Jointly Administered)
               Debtors.                        )
                                               )        Re: Docket No. ____

         ORDER GRANTING MOTION OF YELIMAR KARINA SIRA
         MONSALVE FOR RELIEF FROM THE AUTOMATIC STAY
                         INJUNCTION

         Upon consideration of the Motion of Yelimar Karina Sira Monsalve for

Relief from the Automatic Stay, allowing Movant to proceed with personal injury

litigation pending in the Circuit Court of the Ninth Judicial Circuit of the State of

Florida for the County of Osceola, against Debtor Yellow Corporation, et al., and

the Court having found that notice of the Motion and the hearing on the Motion

was proper under applicable rules of procedure and provided adequate notice of the

Motion and the hearing on the Motion to all parties in interest; and the Court,

having found that cause exists under 11 U.S.C. §362(d) to grant relief from stay as

requested by Movant; and the Court having found that it is in the best interests of

the Debtors’ estates to grant relief from stay to allow the Movant to continue

litigation of her claims in the Monsalve Action for the purposes of liquidating the

amount of such claims, collecting on any judgment entered from any available

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insurance proceeds under any applicable liability insurance, and filing a proof of

claim in liquidated amounts to the extent that insurance does not fully satisfy

Movant’s claims against the Defendant Debtor; it is hereby

      ORDERED that the Motion is GRANTED; and it is further

      ORDRED, that the automatic stay of 11 U.S.C. §362(a) is hereby

terminated, effective immediately, to allow Movant to fully prosecute her claims

against the Defendant Debtor in the Monsalve Action to conclusion, including

through final judgment and any and all appeals therefrom; and it is further

      ORDERED that the automatic 14 day stay provided by Federal Rule of

Bankruptcy Procedure 4001(a)(3) is hereby waived upon entry of this order on the

Court’s docket.




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